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                                                              United States District Court
                                                                Southern District of Texas

                                                                   ENTERED
                                                               November 09, 2021
                                                                Nathan Ochsner, Clerk
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